                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION


 UNITED STATES OF AMERICA,
                Plaintiff,                                  No. CR15-4068-MWB
 vs.                                               ORDER ACCEPTING MAGISTRATE
                                                        JUDGE’S REPORT AND
 SEBASTIAN GARCIA-PEREZ,                            RECOMMENDATION REGARDING
                Defendant.                            DEFENDANT’S GUILTY PLEA
                                   ____________________



                        I. INTRODUCTION AND BACKGROUND
        On October 22, 2015, an Indictment was returned against defendant Sebastian Garcia-
Perez, charging defendant with conspiring to distribute 500 grams or more methamphetamine
which contained at least 50 grams or more of pure methamphetamine, in violation of 21 U.S.C.
§§ 841(a)(1), 841(b)(1)(A), and 846, and distributing methamphetamine which contained at least
5 grams or more of pure methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B).
On March 23, 2016, defendant appeared before United States Magistrate Judge C.J. Williams and
entered a plea of guilty to Count 1 of the Indictment. On this same date, Judge Williams filed a
Report and Recommendation in which he recommends that defendant’s guilty plea be accepted. No
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objections to Judge Williams’s Report and Recommendation were filed.         The court, therefore,
undertakes the necessary review of Judge Williams’s recommendation to accept defendant’s plea
in this case.




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       The parties have waived the fourteen day period in which to file objections to Judge
Williams’s Report and Recommendation.


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                                         II. ANALYSIS
       The court reviews the magistrate judge’s report and recommendation pursuant to the
statutory standards found in 28 U.S.C. § 636(b)(1):
                A judge of the court shall make a de novo determination of those
                portions of the report or specified proposed findings or
 recommendations to which objection is made. A judge of the court may accept, reject, or modify,
in whole or in part, the findings or recommendations made by the magistrate judge. The judge may
also receive further evidence or recommit the matter to the magistrate judge with instructions.
28 U.S.C. § 636(b)(1) (2006); see Fed. R. Civ. P. 72(b) (stating identical requirements); N.D. IA.
L.R. 72, 72.1 (allowing the referral of dispositive matters to a magistrate judge but not
articulating any standards to review the magistrate judge’s report and recommendation).
While examining these statutory standards, the United States Supreme Court explained:
               Any party that desires plenary consideration by the Article III
               judge of any issue need only ask. Moreover, while the statute
               does not require the judge to review an issue de novo if no
               objections are filed, it does not preclude further review by the
               district judge, sua sponte or at the request of a party, under a de
               novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 154 (1985). Thus, a district court may review de novo any
issue in a magistrate judge’s report and recommendation at any time. Id. If a party files an
objection to the magistrate judge’s report and recommendation, however, the district court
must “make a de novo determination of those portions of the report or specified proposed
findings or recommendations to which objection is made.” 28 U.S.C. § 636(b)(1). In the
absence of an objection, the district court is not required “to give any more consideration to
the magistrate’s report than the court considers appropriate.” Thomas, 474 U.S. at 150.
       In this case, no objections have been filed. As a result, the court has reviewed the
magistrate judge’s report and recommendation under a clearly erroneous standard of review.
See Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (noting when no objections are
filed and the time for filing objections has expired, “[the district court judge] would only
have to review the findings of the magistrate judge for clear error”); Taylor v. Farrier, 910

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F.2d 518, 520 (8th Cir. 1990) (noting the advisory committee’s note to Fed. R. Civ. P. 72(b)
indicates “when no timely objection is filed the court need only satisfy itself that there is no
clear error on the face of the record”). After conducting its review, the court is not “‘left with
[a] definite and firm conviction that a mistake has been committed,’” and finds no reason to
reject or modify the magistrate judge’s recommendation. Anderson v. City of Bessemer City,
470 U.S. 564, 573-74 (1985) (quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395
(1948)). Therefore, the court accepts Judge Williams’s Report and Recommendation and
accepts defendant’s plea of guilty in this case to Count 1 of the Indictment.
       IT IS SO ORDERED.
       DATED this 23rd day of March, 2016.


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                                                    MARK W. BENNETT
                                                    U. S. DISTRICT COURT JUDGE
                                                    NORTHERN DISTRICT OF IOWA




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